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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA


                                      (Alexandria Division)


 JANE DOE,

        Plaintiff,

 V.                                                       Case No.: l:21-cv-1150


 FAIRFAX POLICE OFFICER #1, er a/..

        Defendants.




         MOTION TO PROCEED UNDER PSEUDONYM and WAIVER OF HEARING

        Plaintiff Jane Doe, by counsel, moves for leave to proceed under a pseudonym in the

 instant action, with her name being revealed to defendants under a protective order precluding its

 use absent court authorization. For the following reasons, this motion should be granted.



                                            Background


        In this lawsuit, plaintiff Jane Doe seeks damages resulting from sex trafficking and being

forced to work as a prostitute, mostly in Fairfax County, Virginia. The defendants, Fairfax Police

 Officers ##1 and 2, were officers with the Fairfax County Police Department who were

 customers of Jane Doe and also provided security to the sex trafficking ring that victimized her.

 The details ofJane Doe's ordeal are set forth in the complaint.
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                                             Discussion


        The Federal Rules of Civil Procedure provide that "the title ofthe complaint must name

 all the parties". Fed. R. Civ. P. 10(a). This requirement serves the public's interest in open

 judicial proceedings. Doe v. Pub. Citizen, 749 F.3d 246(4th Cir. 2014). However,"in

 exceptional circumstances, compelling concerns relating to personal privacy or confidentiality

 may warrant some degree of anonymity in Judicial proceedings, including use ofa pseudonym."

 Id. at 273(citing James v. Jacobson,6 F.3d 233(4th Cir. 1993)). Indeed, a trial court abuses its

 discretion when it fails to consider thoroughly that "in some cases the general presumption of

 open trials—including identification of parties and witnesses by their real names—should yield

 in deference to sufficiently pressing needs for party or witness anonymity."Jacobson,6 F.3d at

 242(4th Cir, 1993);      also Sealed Plaintiffv. Sealed Defendant #7,537 F.3d 185, 189-90(2d

 Cir. 2008); Roe v. Aware Woman Ctr.for Choice, Inc., 253 F.3d 678,684-87(11th Cir. 2001);

 Does I Thru XXIIIV. Advanced Textile Corp.,214 F.3d 1058, 1069(9th Cir. 2000).

        In Jacobson,the Fourth Circuit set forth a list of nonexclusive factors for district courts

 to consider when determining whether a party should be permitted to litigate a case under a

 pseudonym:

        (1)[WJhether the justification asserted by the requesting party is merely to avoid
        the annoyance and criticism that may attend any litigation or is to preserve
        privacy in a matter of sensitive and highly personal nature;(2) whether
        identification poses a risk of retaliatory physical or mental harm to the requesting
        party or even more critically, to innocent non-parties;(3)the ages ofthe persons
        whose privacy interests are sought to be protected;(4) whether the action is
        against a governmental or private party; and,(5)relatedly, the risk of unfairness
        to the opposing party from allowing an action against it to proceed anonymously.
 Jacobson,6 F.3d at 238.




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        Applying the relevant Jacobson factors to this case, the facts weigh in favor of allowing

 Jane Doe to proceed under her chosen pseudonym. The details of Jane Doe's trafficking are of a

 highly personal and sensitive nature. The case at bar is akin to A.D. v. Wyndham Hotels &

 Resorts, 2020 WL 5269758,(E.D. Va. Mar. 20,2020), order clarified, 2020 WL 8639343

(E.D. Va. July 30,2020), where the plaintiff was a victim of sex trafficking and forced to

 sexually service strangers in Hampton, Virginia. Like Jane Doe, plaintiff A.D."regularly

 endured brutal physical assaults, psychological torment, verbal abuse, and false imprisonment"

 as a result of her trafficking. Id. at *1. Noting that the details surrounding the plaintiffs sex

 trafficking ordeal were a "sensitive and highly personal matter," Id. at *2(citing Candidate No.

 452207 V. CFA Inst., 42 F. Supp. 3d 804,807(E.D. Va. 2012)), the court held the public's

 interest in open judicial proceedings did not outweigh the plaintiffs need for privacy and

 anonymity, and granted plaintiffs motion to proceed under a pseudonym.

        Courts routinely have allowed victims of sex trafficking to proceed under a pseudonym.

 This is so because "allowing victims of sexual assault to proceed anonymously serves strong

 public interest because other victims will not be deterred from reporting such crimes." B.M. v.

 Wyndham Hotels & Resorts, Inc., 2020 WL 4368214, at *10(N.D. Cal. July 30,2020)(allowing

 victim of sex trafficking to proceed under a pseudonym). See also H.G. v. Inter-Continental

 Hotels Corp.,489 F. Supp. 3d 697, 713(E.D. Mich.2020)(same); C. S. v. Choice Hotels Int'l,

 2021 WL 2792166,(M.D. Fla. June 11, 2021)(same). This principal was so demonstrated in the

 criminal proceedings against plaintiff Jane Doe's trafficker. Hazel Marie Sanchez Cerdas, where

 the parties did not refer to any trafficking victim, including Jane Doe, by her name. See United

 States V. Cerdas, No. l:19-cr-65 (E.D. Va. 2019).


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          It is self-evident that public disclosure of Jane Doe's true identity would cause her severe

 emotional distress. There is no cognizable public interest in revealing her identity. The public

 interest in this case, if any, lies not in Jane Doe's actual name, but rather in the facts of her case

 and the resolution ofthe substantive legal issues it presents. Jane Doe's use of a pseudonym will

 not interfere with the right or the ability ofthe public to follow the proceedings. Defendants will

 be able fully and fairly to litigate against Jane Doe without public revelation of her identity.

 Considering these facts, and considering the Jacobson factors, anonymity is warranted.



                                                    Conclusion


           For these reasons, Jane Doe's motion to proceed under a pseudonym should be granted.

 Jane Doe waives a hearing on this motion and requests its adjudication on the papers. Counsel

 has served a copy ofthis motion on the anticipated counsel for the defendants.

                                                     Respectfully submitted,

                                                     JANE DOE,

                                                     By counsel
 Dated: October 12,2021

 Counsel for Plaintiff:


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                                       Certificate of Service


         I, Victor M.Glasberg, hereby certify that on this 12^ day of October 2021,1 filed the
 foregoing Motion to Proceed Under Pseudonym and Waiver of Hearing with the clerk of the
 court via the court's ECF system and emailed a copy to the anticipated counsel for the
 defendants:


                       Kimberly Baucom, Esq.
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